Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 1 of 9
                             Pageid#: 581
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 2 of 9
                             Pageid#: 582
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 3 of 9
                             Pageid#: 583
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 4 of 9
                             Pageid#: 584
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 5 of 9
                             Pageid#: 585
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 6 of 9
                             Pageid#: 586
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 7 of 9
                             Pageid#: 587
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 8 of 9
                             Pageid#: 588
Case 5:05-cr-00001-GEC-BWC   Document 230   Filed 05/10/05   Page 9 of 9
                             Pageid#: 589
